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                                          Dip         U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District ofNew York
   MKP/TH/KMT                                         271 Cadman Plaza East
                                                      Brooklyn, New York 11201


                                                      January 30,2019

   Bv E-mail and ECF


   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn,New York 11201

                 Re:      United States v. Keith Raniere,^ al.
                          Criminal Docket No. 18-204(S-D(NGG)(VMS)


   Dear Judge Garaufis:

                  The government respectfully requests a two-day adjournment for its time to
   file its motion to admit enterprise evidence, iBrom today until Friday, February 1, 2019. The
   government has conferred with counsel for all defendants and they do not object to the
   adjournment request. Additionally, pursuant to Rule IV(C)ofthe Court's Individual Rules,
   the government respectfully requests permission to file an oversized memorandum oflaw of
   no more than 40 pages in support ofthis motion.

                                                      Respectfully submitted,

                                                     RICHARD P. DONOGHUE
                                                      United States Attorney

                                              By:     /s/
                                                      Moira Kim Penza
                                                     Tanya Hajjar
                                                     Kevin Trowel
                                                      Assistant U.S. Attorneys
                                                      (718)254-7000


  cc:     Counsel ofrecord (by ECF)
          Clerk of Court(NGG)(by ECF)
                                                                     Aa'KK •          I-
                                                            s/Nicholas G. Garaufis
